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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

CHARLES E. WIIG,                             )              CASE NO. 8:10CV226
                                             )
                     Plaintiff,              )
                                             )
              v.                             )                 MEMORANDUM
                                             )                  AND ORDER
RICHARD HASELOH, MARK                        )
MONTGOMERY, and UNKNOWN                      )
RICELY,                                      )
                                             )
                     Defendants.             )

       This matter is before the court on Plaintiff’s Motion for Leave to Proceed In Forma

Pauperis (“IFP”). (Filing No. 5.) The court has received a certified copy of Plaintiff’s trust

account information. (Filing No. 6.) Plaintiff is permitted to proceed IFP.

       Pursuant to the Prison Litigation Reform Act, a prisoner plaintiff is required to pay

the full amount of the court’s $350.00 filing fee by making monthly payments to the court,

even if the prisoner is proceeding IFP. 28 U.S.C. § 1915(b). “[T]he PLRA makes prisoners

responsible for their filing fees the moment the prisoner brings a civil action or files an

appeal.” In re Tyler, 110 F.3d 528, 529-30 (8th Cir. 1997); Jackson v. N.P. Dodge Realty

Co., 173 F. Supp. 2d 951 (D. Neb. 2001).

       Pursuant to 28 U.S.C. § 1915(b)(1), Plaintiff must pay an initial partial filing fee in

the amount of 20 percent of the greater of Plaintiff’s average monthly account balance or

average monthly deposits for the six months preceding the filing of the complaint.

Accordingly, the court finds that the initial partial filing fee is $18.65, based on an average

monthly account balance of $93.24. Plaintiff must pay this initial partial filing fee by August

20, 2010. If the court does not receive payment by this deadline, this matter will be

dismissed. Plaintiff may request an extension of time if needed.
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       In addition to the initial partial filing fee, Plaintiff must “make monthly payments of

20 percent of the preceding month’s income credited to the prisoner’s account.” 28 U.S.C.

§ 1915(b)(2). The statute places the burden on the prisoner’s institution to collect the

additional monthly payments and forward them to the Court as follows:

       After payment of the initial partial filing fee, the prisoner shall be required to
       make monthly payments of 20 percent of the preceding month’s income
       credited to the prisoner’s account. The agency having custody of the
       prisoner shall forward payments from the prisoner’s account to the clerk of
       the court each time the amount in the account exceeds $10 until the filing
       fees are paid.

28 U.S.C. § 1915(b)(2). Therefore, after payment in full of the initial partial filing fee, the

remaining installments shall be collected pursuant to this procedure.

       The Clerk of the court shall send a copy of this Memorandum and Order to the

appropriate financial official at Plaintiff’s institution. Plaintiff will remain responsible for the

entire filing fee, as long as he is a prisoner, even if the case is dismissed at some later

time. See In re Tyler, 110 F.3d 528, 529-30 (8th Cir. 1997); Jackson v. N.P. Dodge Realty

Co., 173 F. Supp. 2d 951 (D. Neb. 2001).

       IT IS THEREFORE ORDERED that:

       1.      Plaintiff’s Motion for Leave to Proceed In Forma Pauperis (Filing No. 5) is
               granted;

       2.      Plaintiff shall pay an initial partial filing fee of $18.65 by August 20, 2010,
               unless an enlargement of time is granted in response to a written motion. If
               the initial partial filing fee is not received by the specified deadline, this case
               will be dismissed;

       3.      After payment of the initial partial filing fee, Plaintiff’s institution shall collect
               the additional monthly payments in the manner set forth in 28 U.S.C. §
               1915(b)(2), quoted above, and shall forward those installments to the court;

       4.      The Clerk of the court is directed to send a copy of this order to the
               appropriate official at Plaintiff’s institution;

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      5.     The Clerk of the court is directed to set a pro se case management deadline
             in this case using the following text: August 20, 2010: initial partial filing fee
             payment due;

      6.     Plaintiff shall keep the court informed of his current address at all times, and
             all parties are bound by the Federal Rules of Civil Procedure and by the
             court’s Local Rules while this case is pending; and

      7.     Plaintiff shall review the “Notice Regarding Summons Forms” attached to this
             Order.

      DATED this 20th day of July, 2010.

                                          BY THE COURT:



                                          s/Laurie Smith Camp
                                          United States District Judge




        *This opinion may contain hyperlinks to other documents or Web sites. The U.S.
District Court for the District of Nebraska does not endorse, recommend, approve, or
guarantee any third parties or the services or products they provide on their Web sites.
Likewise, the court has no agreements with any of these third parties or their Web sites.
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not affect the opinion of the court.
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                        NOTICE REGARDING SUMMONS FORMS
                              FOR PRO SE PRISONERS
                          PROCEEDING IN FORMA PAUPERIS

       A prisoner who is proceeding pro se and in forma pauperis as the plaintiff in a civil
case shall not provide the court with summons forms (or Form 285) for service of process
on the defendant(s) until notified to do so by the Clerk of the court.

       The Prison Litigation Reform Act (“PLRA”) requires the court to screen complaints
brought by prisoners. Therefore, the court conducts “initial review” of a complaint filed by
a prisoner before any summons can be served on a defendant. Generally, the court
conducts “initial review” shortly after the Clerk of the court receives the initial partial filing
fee from the plaintiff. After the initial partial filing fee has been paid, and initial review has
been completed, the Clerk of the court arranges for service of process as follows:

       1.     The Clerk of the court will be directed by a District Judge or Magistrate Judge
to send the plaintiff a blank summons form for each defendant named in the caption of the
case, together with Form 285.

      2.    The plaintiff shall thereafter complete the summons form(s) and Form 285,
because without those forms, service of process cannot occur.

       3.     The plaintiff shall then mail the completed summons form(s) and Form 285
to the Clerk of the court. Upon receipt of the completed forms from the plaintiff, the Clerk
of the court will sign the summons form(s) to be sent by the Clerk, together with a copy of
the complaint for each defendant, to the U.S. Marshal for service on the defendant(s).

      4.      Because the plaintiff is proceeding in forma pauperis, the plaintiff is not
responsible for copying the complaint or arranging for service of process.




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